Case 16-18467-jkf       Doc 98      Filed 05/30/18 Entered 05/31/18 12:09:13                  Desc Main
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                       IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA
    In re: MaryAnne Applegate,                   CHAPTER 11
           Debtor.
    ____________________________________         BANKRUPTCY CASE NUMBER
    PHH Mortgage Corporation as servicer for     16-18467/JKF
    U.S. Bank National Association as Trustee of
    J.P. Morgan Mortgage Trust 2006-A5,          11 U.S.C. § 362
           Movant,
    v.
    MaryAnne Applegate,
           Debtor,

    George M. Conway, Trustee,
      Additional Respondent.

                                               ORDER

           AND NOW, this ______                May, 2018 2017, at
                              30th day of ______________,             xxxxxxxxxxx   xxxxxxxxx
                                                                        the Eastern District of
   xxxxxxxxxxx upon the consideration of the Motion of Movant for Relief from the Automatic
   Pennsylvania,
                        xxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxx
   Stay (the "Motion"), and the failure of Debtor to file an answer, appear or otherwise respond to
   xxxxxxxxxx
   the Motion, and for good cause shown, it is

            ORDERED AND   xxxxxxxxxxxxx
                               DECREED that the Automatic Stay of all proceedings, as provided
   under Section 362 of the Bankruptcy Abuse Prevention and Consumer Protection Act of 2005
   (the "Code"), 11 U.S.C. § 362, is lifted to allow Movant, or its successors, if any, to proceed with
   its rights under its loan documents for the property located at 1285 Eagle Road, New Hope, PA
   18938; and it is

           xxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxx
          FURTHER      ORDERED that Rule 4001(a)(3) is not applicable and Movant, or its
    xxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxx
   successors, if any, may immediately implement this order.



                                                 BY THE COURT:


                                                 ___________________________________
                                                 HONORABLE JEAN K. FITZSIMON
                                                 UNITED STATES BANKRUPTCY JUDGE
